

CONFESSION OF ERROR

PER CURIAM.
In this appeal from an order of dependency entered on a default, the appellee’s attorney has filed a confession of error which states in part:
The Department of Children and Families confesses that it led the trial court into error by failing to object to the entry of the default judgment, where it was not prepared to go forward as to appellant/father and, prior to discovering more about the father’s criminal history and the state’s notice of intent to seek enhanced penalty, the Department was considering dismissing the dependent petition as to the father.
In accordance with this candid and commendable statement, the order under review is reversed and the cause remanded for further consistent proceedings, including consideration of any application of the Department of Children and Families to amend the petition for dependency.
